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  IT IS ORDERED as set forth below:



   Date: July 5, 2022
                                                           _________________________________

                                                                    Jeffery W. Cavender
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________

                         UNITED STATES DISTRICT BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                            |
                                                  |
LATOSHA DEWAUN MATHIS,                            |      CHAPTER 13
                                                  |
         DEBTOR                                   |      CASE NO. 20-70035-JWC
                                                  |

                ORDER ON MOTION TO RETAIN RETIREMENT FUNDS

         On June 3, 2022, Debtor filed a Motion to Retain Retirement Funds (Doc 59) seeking to

withdraw from her retirement account in order to catch up on mortgage payments and pay off the

remaining balance of the plan. No objection to the Motion was filed prior to the objection deadline.

Moreover, the Chapter 13 Trustee has no opposition. The matter came before the Court for hearing

on June 28, 2022. The Chapter 13 Trustee’s Motion to Reconvert this Case to One Under Chapter

7 (Doc. No. 55) also came before the Court for hearing on June 28, 2022 and the case was placed

on a status report for retirement funds to be paid to Chapter 13 Trustee. Debtor believes that

withdrawing the funds is in her best interests as it is necessary to prevent the hardship of loss of

her primary residence as the result of liquidation of her residence through a Chapter 7 proceeding
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and subsequent eviction or foreclosure. The Court has considered the Motion and all other matters

of record, including the lack of objection thereto. Based on the foregoing and for the reasons stated

on the record at the hearing, the Court finds that good cause exists to grant the relief requested.

Accordingly, it is hereby

       ORDERED that Kaiser annuity administrator is authorized to release $49,422.78 to the

Debtor to protect against the aforementioned hardship; it is

       FURTHER ORDERED that upon receipt of the annuity proceeds, Debtor shall

immediately remit $46,000.00 to Chapter 13 Trustee to pay all creditors in full and Debtor may

retain the remaining balance to cure the mortgage delinquency; it is

       FURTHER ORDERED that should the annuity proceeds be insufficient to pay the

remaining balance of the plan, Debtor shall immediately resume monthly payments to the Chapter

13 Trustee.

                                     [END OF DOCUMENT]
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Prepared and Submitted by
JEFF FIELD & ASSOCIATES:

/s/ Christopher J. Sleeper
____________________________________
CHRISTOPHER J. SLEEPER
Attorney for Debtor
State Bar No. 700884
342 North Clarendon Avenue
Scottdale, GA 30079
404-499- 2700
contactus@fieldlawoffice.com


No Opposition:

/s/ Julie M. Anania
____________________________________
JULIE M. ANANIA
Attorney for Chapter 13 Trustee
State Bar No. 477064
Suite 120
303 Peachtree Center Avenue
Atlanta, Georgia 30303
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                   IDENTIFICATION OF PARTIES TO BE SERVED

Nancy J. Whaley
303 Peachtree Center Ave.
Suite 120
Atlanta, GA 30303

Christopher J. Sleeper
Jeff Field & Associates
342 North Clarendon Avenue
Scottdale, Georgia 30079

Latosha Dewaun Mathis
2623 Memory Lane
Douglasville, GA 30135
